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                     IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
                                     :
PETROCHOICE HOLDINGS, INC.           :
            Plaintiff,               :
                                     :    CIVIL ACTION
      v.                             :
                                     :    NO.: 19-6152
FRANCIS S. OROBONO, JR.              :
            Defendant.               :
                                     :


              ANSWER TO COMPLAINT AND AFFIRMATIVE DEFENSES OF
                      DEFENDANT FRANCIS S. OROBONO, JR.

        Defendant Francis S. Orobono, Jr. by and through his attorneys, Lamb McErlane PC, hereby

files this Answer with Affirmative Defenses to Plaintiff’s Complaint, in accordance with the

numbered paragraphs as follows:

        1.      Denied. The remainder of Plaintiff’s Complaint and nature of the action speaks

for itself. Any statement made inconsistent therewith is denied. To the extent a factual response

is required, the allegations are denied.

        2.      Denied.

        3.      Denied.

        4.      The relief Plaintiff seeks speaks for itself and any statement made inconsistent

therewith is denied. The allegations set forth in this paragraph are denied and it is denied that

Plaintiff is entitled to the requested relief.

        5.      Upon information and belief, admitted.

        6.      Admitted in part, denied in part. Defendant’s last title while employed by

PetroChoice was Vice President Strategic Accounts. The remaining allegations are admitted.




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       7.      The averments contained in this paragraph are conclusions of law to which no

response is required. By way of further response, Plaintiff’s claim for violation of the Computer

Fraud and Abuse Act was withdrawn by stipulation.

       8.      The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       9.      The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       10.     The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       11.     The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       12.     Defendant is without knowledge or information sufficient to form a belief as to

the truth of the averment of this paragraph.

       13.     Upon information and belief, admitted.

       14.     Upon information and belief, admitted.

       15.     Upon information and belief, admitted.

       16.     Denied.

       17.     Admitted with the exception of the allegation regarding the number of employees,

which Defendant cannot admit or deny.

       18.     Admitted.

       19.     Admitted.

       20.     The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.



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          21.   Admitted in part, denied in part. It is admitted only that Defendant was Regional

Vice President of Sales responsible for the northeast region. Any allegation to the contrary is

denied.

          22.   The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

          23.   The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

          24.   The averment contained in this paragraph is a conclusion of law to which no

response is required.

          25.   The Employment Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

          26.   The Employment Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

          27.   The Employment Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

          28.   The Employment Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

          29.   The Employment Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

          30.   The Employment Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

          31.   The Employment Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.



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       32.     The Employment Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       33.     The averment contained in this paragraph is a conclusion of law to which no

response is required. To the extent a factual response is required, the Employment Agreement is

a document which speaks for itself and any statement made inconsistent therewith is denied.

       34.     The averment contained in this paragraph is a conclusion of law to which no

response is required. To the extent a factual response is required, the Securities Rollover

Agreement is a document which speaks for itself and any statement made inconsistent therewith

is denied.

       35.     The Securities Rollover Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       36.     The Securities Rollover Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       37.     The averment contained in this paragraph is a conclusion of law to which no

response is required.

       38.     The Securities Rollover Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       39.     The Securities Rollover Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       40.     The Securities Rollover Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       41.     The Securities Rollover Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.



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       42.     The Securities Rollover Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       43.     The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       44.     The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       45.     The averment contained in this paragraph is a conclusion of law to which no

response is required.

       46.     The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       47.     The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       48.     The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       49.     The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       50.     The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       51.     The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       52.     The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.




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       53.    The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       54.    The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       55.    The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       56.    The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       57.    The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       58.    The Management Equity Agreement is a document which speaks for itself and

any statement made inconsistent therewith is denied.

       59.    Admitted.

       60.    Admitted.

       61.    The Separation Agreement and Consulting Agreement are documents which

speak for themselves and any statement made inconsistent therewith is denied.

       62.    The Separation Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       63.    The Separation Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       64.    The Separation Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.




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       65.     The Separation Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       66.     Admitted in part. It is admitted that Plaintiff and Defendant entered into the

Consulting Agreement. The Consulting Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       67.     The Separation Agreement and the Consulting Agreement are documents which

speaks for themselves and any statement made inconsistent therewith is denied.

       68.     The Separation Agreement is a document which speaks for itself and any

statement made inconsistent therewith is denied.

       69.     Admitted.

       70.     Denied. To the contrary, Defendant apprised two employees of his employment

with JWT within six to eight weeks of the date his employment commenced.

       71.     Admitted in part, denied in part. It is denied that PetroChoice desired to close the

transaction within six months. To the contrary, PetroChoice expressed desire to close the

transaction within sixty to ninety days. The remaining allegations are admitted.

       72.     Denied.

       73.     Denied.

       74.     Denied.

       75.     Denied. To the contrary, JWT asked PetroChoice about selling the Chemical

Division to JWT.

       76.     Upon information and belief, admitted.




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       77.     Admitted in part. It is admitted that Defendant Orobono was aware of a business

relationship between JWT and PetroChoice. The remainder of this allegation is a conclusion of

law to which no response is required and is, therefore, denied.

       78.     Denied.

       79.     Admitted in part, denied in part. It is admitted that JWT is a customer of

PetroChoice. Defendant is without knowledge or information sufficient to form a belief as to the

significance of or revenue produced by this customer relationship.

       80.     Denied. To the contrary, Defendant properly disclosed JWT as a potential partner

to PetroChoice. The PetroChoice project team approved JWT as potential partner/buyer of the

ESD.

       81.     Denied. It is denied that the relationship between JWT and Defendant was a

“surprising last minute disclosure”. Defendant is without sufficient knowledge or information to

form a belief as to the truth of the remaining allegations in this paragraph.

       82.     Denied. Defendant is without knowledge or information as to the truth of Plaintiff

PetroChoice’s prospects. The remaining allegations are denied as conclusions of law.

       83.     Denied.

       84.     Upon information and belief, admitted.

       85.     Admitted.

       86.     Denied. The averments contained in this paragraph are conclusions of law to

which no response is required and are, therefore, denied. To the extent a factual response is

required, the allegations are denied.

       87.     Admitted.




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       88.     Admitted in part, denied in part. Defendant’s oversight was limited to the

Pennsylvania, Delaware, New Jersey and Maryland. The remaining allegations are admitted.

       89.     Admitted in part, denied in part. At the referenced time, PetroChoice was not

distributing lubricants manufactured by Wynn’s. The remaining allegations are admitted.

       90.     Defendant was not involved in such transactions and, as such, does not have

sufficient knowledge to form a belief as to the truth of the allegations in this paragraph.

       91.     Admitted.

       92.     It is admitted only that PetroChoice and Valvoline exchanged information. Any

characterization or conclusion of law regarding such information is denied.

       93.     Admitted in part, denied in part. It is admitted that such information was on the

PetroChoice network. Defendant denies certain information contained therein is confidential.

       94.     The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       95.     Denied.

       96.     Denied.

       97.     Denied. It is denied that PetroChoice was not aware that Defendant had a

username, password, and access to Microsoft 365 as part of PetroChoice’s initiative to move

away from Citrix. In fact, PetroChoice employees emailed Defendant through the Microsoft 365

platform during the course of his consulting term and Defendant responded to such emails

through the same platform.

       98.     Denied.




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       99.     Denied. To the contrary, PetroChoice employee Josh Shoenberger informed

Defendant that he was authorized to access the Microsoft 365 platform as a consultant, which

included access to the email server and PetroChoice files.

       100.    Denied.

       101.    Admitted in part, denied in part. It is admitted that Defendant did access

PetroChoice’s system on multiple occasions in August of 2019. Defendant cannot admit or deny

such dates. It is denied that Defendant accessed PetroChoice’s system without authorization.

       102.    Denied as stated. Defendant conducted said download in order to secure his own

personal information and files contained on the PetroChoice network after requesting assistance

with same from multiple PetroChoice employees.

       103.    Admitted in part, denied in part. It is admitted that certain PetroChoice

information was included in the download. Defendant cannot admit or deny the full contents of

said download.

       104.    Defendant is without knowledge or information as to the results of PetroChoice’s

investigation and cannot form a belief as to the truth of the averment of this paragraph.

       105.    Defendant is without knowledge or information sufficient to form a belief as to

the truth of the averment of this paragraph.

       106.    Admitted in part, denied in part. Defendant admits that he utilized his PetroChoice

issued username and password to log into PetroChoice’s network in August of 2019. Defendant

cannot confirm the dates of same.

       107.    Denied.

       108.    It is admitted only that Defendant is aware that the Kennedy Group Dealership

ended its chemical supply account with PetroChoice.



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       109.     Admitted in part, denied in part. It is admitted that Defendant started distributing

and soliciting chemicals products at the direction of JWT for a very limited period of time. It is

denied that Defendant utilized any PetroChoice information. It is further denied that Defendant

utilized any PetroChoice information to initiate a business relationship on JWT’s behalf with

Wynn’s chemicals.

       110.     It is admitted only that Wynn’s is a competitor of Valvoline’s.

       111.     Denied.

       112.     Admitted in part, denied in part. It is admitted that in the time period prior to

Defendant’s employment, JWT was not competitive with PetroChoice. To the extent this

averment implies that Defendant is responsible for the facts asserted, such averment is denied.

       113.     Denied.

       114.     Denied.

       115.     Admitted in part, denied in part. It is admitted that PetroChoice and JWT had

communications regarding potential sale of the chemicals division. The remaining allegations are

denied. It is further denied that PetroChoice lost the Kennedy account as a result of any actions

by Defendant.

       116.     Defendant is without knowledge or information sufficient to form a belief as to

the truth of the averment of this paragraph and strict proof thereof is demanded at time of trial.

       117.     Denied.

       118.     The averment contained in this paragraph is a conclusion of law to which no

response is required.

       119.     Denied.




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          120.   Denied as stated. To the extent this averment implies that Defendant is or has

utilized PetroChoice’s confidential information, such allegation is denied.

          121.   Defendant is without knowledge or information sufficient to form a belief as to

the truth of the averment regarding PetroChoice’s knowledge.

          122.   Defendant is without knowledge or information sufficient to form a belief as to

the truth of the averment of this paragraph.

          123.   Denied.

          124.   The averment contained in this paragraph is a conclusion of law to which no

response is required. By way of further response, the Agreements referenced in this allegation

are documents which speak for themselves and any statement made inconsistent therewith is

denied.

          125.   Denied.

          126.   Denied.

          127.   Admitted in part, denied in part. It is admitted that Defendant is employed by

JWT in an executive role. The remaining allegations are denied.

                                        COUNT I
 Misappropriation of PetroChoice’s Trade Secrets Pursuant to the Federal Defend Trade
                          Secrets Act, 18 U.S.C. § 1831, et seq.
          128.   Defendant incorporates by reference the preceding paragraphs of this Answer as if

fully set forth at length herein.

          129.   The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

          130.   The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.


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       131.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       132.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       133.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       134.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       135.    Denied.

       136.    Denied.

       137.    Denied.

       138.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied. To the extent a factual response is required, the

allegations are denied.

       139.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       140.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       141.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       142.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.




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                                         COUNT II
               Misappropriation of PetroChoice’s Trade Secrets Pursuant to the
                         Pennsylvania Uniform Trade Secrets Act


        143.    Defendant incorporates by reference the preceding paragraphs of this Answer as if

fully set forth at length herein.

        144.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        145.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        146.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        147.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        148.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        149.    Denied.

        150.    Denied.

        151.    Denied.

        152.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied. To the extent a factual response is required, the

allegations are denied.

        153.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.




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        154.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        155.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        156.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

                                       COUNT III
           Violation of the Computer Fraud and Abuse Act, 18 U.S.C.§ 1030(e)(2)


                          Dismissed by Stipulation Approved by the Court


                                         COUNT IV
                     Breach of Contract – Management Equity Agreement
        165.    Defendant incorporates by reference the preceding paragraphs of this Answer as if

fully set forth at length herein.

        166.    Admitted.

        167.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        168.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        169.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        170.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        171.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

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        172.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

                                         COUNT V
               Breach of Contract – Separation Agreement and General Release

        173.    Defendant incorporates by reference the preceding paragraphs of this Answer as if

fully set forth at length herein.

        174.    Admitted that Defendant executed the Separation Agreement and General

Release. The Separation Agreement and General Release attached to the Complaint is not

executed by Plaintiff.

        175.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        176.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        177.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        178.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        179.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

                                          COUNT VI
                           Breach of Contract – Consulting Agreement


        180.    Defendant incorporates by reference the preceding paragraphs of this Answer as if

fully set forth at length herein.


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        181.    It is admitted only that Defendant executed the Consulting Agreement. The

Consulting Agreement attached to the Complaint has not been executed by Plaintiff.

        182.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        183.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        184.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        185.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        186.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

                                               COUNT VII
                                       Breach of the Duty of Loyalty


        187.     Defendant incorporates by reference the preceding paragraphs of this Answer as

if fully set forth at length herein.

        188.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        189.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        190.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.




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        191.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

                                           COUNT VIII
                                Tortious Interference with Contract

        192.    Defendant incorporates by reference the preceding paragraphs of this Answer as if

fully set forth at length herein.

        193.    The allegation in this paragraph is regarding PetroChoice and JWT and does not

involve Defendant. Defendant cannot confirm or deny the contractual relationship or agreements

between PetroChoice and JWT, who is not a party to this action.

        194.    Admitted only that Defendant was aware of a business relationship between

PetroChoice and JWT.

        195.    Admitted.

        196.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        197.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        198.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        199.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.




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                                         COUNT IX
               Intentional Interference with Prospective Contractual Relations


        200.    Defendant incorporates by reference the preceding paragraphs of this Answer as if

fully set forth at length herein.

        201.    The allegation in this paragraph is regarding PetroChoice and JWT and does not

involve Defendant. Defendant cannot confirm or deny the contractual relationship or agreements

between PetroChoice and JWT, who is not a party to this action.

        202.    Admitted only that Defendant was aware of a business relationship between

PetroChoice and JWT.

        203.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied. To the extent a factual response is required, such

allegation is denied.

        204.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied. To the extent a factual response is required, such

allegation is denied.

        205.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied. To the extent a factual response is required, such

allegation is denied.

        206.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        207.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied. To the extent a factual response is required, the

allegations are denied.



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        208.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        209.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

                                            COUNT X
                                            Conversion


        210.    Defendant incorporates by reference the preceding paragraphs of this Answer as if

fully set forth at length herein.

        211.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        212.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        213.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        214.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

        215.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

                                          COUNT XI
                                       Unjust Enrichment


        216.    Defendant incorporates by reference the preceding paragraphs of this Answer as if

fully set forth at length herein.




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       217.    The Separation Agreement is a document that speaks for itself and any statement

made inconsistent therewith is denied.

       218.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       219.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       220.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       221.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       222.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       223.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

                                         COUNT XII
                            Preliminary and Permanent Injunction


       224.    Defendant incorporates the preceding paragraphs of this Answer as if fully set

forth at length herein.

       225.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       226.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.




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       227.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       228.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       229.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       230.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       231.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       232.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       233.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       234.    The averment contained in this paragraph is a conclusion of law to which no

response is required and is, therefore, denied.

       WHEREFORE, Defendant Francis S. Orobono, Jr. respectfully requests that the Court

enter judgment in his favor and against Plaintiff, together with costs, disbursements, and attorney’s

fees and any further relief deemed appropriate by this Court.

                                  AFFIRMATIVE DEFENSES

       Defendant reserves the right to assert any and all applicable defenses to Plaintiff’s claims.

Defendant has obtained limited discovery from Plaintiff in connection with this action, and

therefore, Defendant reserves the right to amend or otherwise supplement this pleading on that


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basis. Without limiting the generality of the foregoing, and without regard to whether the defenses

set forth below are affirmative defenses within the meaning of Fed. R. Civ. P. 8(c), and without

conceding that any such defense must be set forth in its Answer, Defendant states as follows:

                                FIRST AFFIRMATIVE DEFENSE

       Plaintiff has failed to state a viable claim for which relief can be granted.

                            SECOND AFFIRMATIVE DEFENSE

       Plaintiff has not sustained any damages.

                                THIRD AFFIRMATIVE DEFENSE

       To the extent Plaintiff has sustained damages, which Defendant denies, such damages

were not caused by Plaintiff.

                            FOURTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff has sustained damages, which Defendant denies, such damages

were caused by a third party.

                                FIFTH AFFIRMATIVE DEFENSE

       To the extent Plaintiff has sustained damages, which Defendant denies, such damages

were caused by Plaintiff’s own actions or inactions.

                                SIXTH AFFIRMATIVE DEFENSE

       The restrictive covenants at issue in this matter are not reasonable in terms of time and/or

geography, and serve no legitimate business interest.

                            SEVENTH AFFIRMATIVE DEFENSE

       Defendant has fulfilled any legitimate obligation imposed by the agreements attached to

Plaintiff’s Complaint.




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                                EIGHTH AFFIRMATIVE DEFENSE

       At all times, Defendant accessed Plaintiff’s network with his PetroChoice issued

username and password.

                                NINTH AFFIRMATIVE DEFENSE

       Defendant has not utilized any of Plaintiff’s protected information or confidential

information or trade secrets for any purpose other than his employment and/or consulting

relationship with Plaintiff.

                                TENTH AFFIRMATIVE DEFENSE

       The restrictive covenants set forth in each of the agreements attached to Plaintiff’s

Complaint fail as a matter of law.

                               ELEVENTH AFFIRMATIVE DEFENSE

       Defendant has not solicited any customer of Plaintiff for any purpose other than tire sales

and the equipment service business.

                               TWELFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims for Breach of Duty of Loyalty (Count VII), Tortious Interference with

Contract (Count VIII), Intentional Interference with Prospective Contractual Relations (Count

IX), Conversion (Count X), and Unjust Enrichment (Count XI) are barred by the gist of the

action doctrine.

                          THIRTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claim for injunctive relief is barred because it has an adequate remedy at law.

                          FOURTEENTH AFFIRMATIVE DEFENSE

       Certain provisions of the agreements attached to Plaintiff’s Complaint are void as

overbroad restrictions on competition in violation of Pennsylvania public policy.



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                            FIFTEENTH AFFIRMATIVE DEFENSE

         Plaintiff cannot establish that Defendant is the cause of Plaintiff’s loss of the Kennedy

account.

                            SIXTEENTH AFFIRMATIVE DEFENSE

         Plaintiff has failed to state a viable cause of action pursuant to Federal Defend Trade

Secrets Act, 18 U.S.C. §1839, or the Pennsylvania Uniform Trade Secrets Act, 12 Pa.C.S.A.

§5302.

                          SEVENTEENTH AFFIRMATIVE DEFENSE

         Plaintiff has failed to state a viable cause of action for breach of the Management Equity

Agreement (Count IV).

                           EIGHTEENTH AFFIRMATIVE DEFENSE

         Plaintiff has failed to state a viable cause of action for breach of the Separation

Agreement and General Release (Count V).

                           NINETEENTH AFFIRMATIVE DEFENSE

         Plaintiff has failed to state a viable cause of action for breach of the Consulting

Agreement (Count VI).

                            TWENTIETH AFFIRMATIVE DEFENSE

         Plaintiff has failed to state a viable cause of action for breach of duty of loyalty (Count

VII).

                          TWENTY-FIRST AFFIRMATIVE DEFENSE

         Plaintiff has failed to state a viable cause of action for tortious interference with

contractual or prospective contractual relations (Counts VIII and IX).



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               TWENTY-SECOND AFFIRMATIVE DEFENSE

Plaintiff has failed to state a viable cause of action for conversion (Count X).

                TWENTY-THIRD AFFIRMATIVE DEFENSE

Plaintiff has failed to state a viable cause of action for unjust enrichment (Count XI).

               TWENTY-FOURTH AFFIRMATIVE DEFENSE

Plaintiff’s claims are barred by the doctrine of waiver and consent.

                 TWENTY-FIFTH AFFIRMATIVE DEFENSE

Plaintiff’s claims are barred by the doctrine of estoppel.

                 TWENTY-SIXTH AFFIRMATIVE DEFENSE

Plaintiff’s claims are barred by the doctrine of failure of consideration.

              TWENTY-SEVENTH AFFIRMATIVE DEFENSE

Plaintiff’s claims are barred by the doctrine of justification.



                                                   LAMB McERLANE PC

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                                 CERTIFICATE OF SERVICE

         This is to certify that in this case complete copy of the foregoing Defendant’s Answer to

Complaint and Affirmative Defenses has been filed electronically and is available for viewing and

downloading from the ECF system. This document is being served upon the following counsel by

electronic filing and service procedures:

 Name                                            Means of Service           Date of Service

 Steven D. Urgo, Esquire                         Electronic Filing          September 18, 2020
 Jon J. Olafson, Esquire
 Kayla D. Dreyer, Esquire
 Lewis Brisbois Bisgaard & Smith
 550 E. Swedesford Road, Suite 270
 Wayne, PA 19087




                                                 LAMB McERLANE PC



 Date:     September 18, 2020               BY: s/Mary-Ellen H. Allen
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